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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                              Chapter 11
ESSAR STEEL MINNESOTA LLC and                                       Case No. 16-11626 (BLS)
ESML HOLDINGS INC.,1
                                                                    (Jointly Administered)
                            Debtors.

_________________________________________

SC MESABI LITIGATION TRUSTEE,

                             Plaintiff,                             Adv. Proc. No. 18-50555 (BLS)
       v.

CENTRAL BANK OF INDIA, AND EXPORT
IMPORT BANK OF INDIA,

                             Defendants.
                                                                    Ref. Nos. 1, 10, 11, 12, 19, 22, 29 & 30

      ORDER GRANTING DEFENDANTS CENTRAL BANK OF INDIA AND EXPORT
         IMPORT BANK OF INDIA’S MOTION TO DISMISS THE COMPLAINT

            Upon consideration of Defendants Central Bank of India and Export Import Bank of

India’s Motion to Dismiss the Complaint [Adv. D.I. 10] (the “Motion”)2 pursuant to Rule 12 of

the Federal Rules of Civil Procedure and Rule 7012 of the Federal Rules of Bankruptcy

Procedures, and the Plaintiff’s opposition thereto; and the Court having jurisdiction over the

Motion pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference

from the United States District Court for the District of Delaware, dated February 29, 2012; and

the Court having found that venue of this proceeding and the Motion in this district is proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having found that notice of the Motion

was appropriate and no further notice need be provided; and after due deliberation and

1
 The last four digits of Essar Steel Minnesota LLC’s federal taxpayer identification number are 8770. The last four
digits of ESML Holdings Inc.’s federal taxpayer identification number are 8071.
2
    Terms utilized but not otherwise defined herein shall have the meanings ascribed to them in the Motion.


{1115.001-W0063236.}
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consideration; and good and sufficient cause appearing therefore; it is hereby

       ORDERED that the Motion is GRANTED; and it is further

       ORDERED that the Complaint filed in the above-captioned adversary proceeding is

hereby dismissed with leave to replead; and it is further

       ORDERED that in the event the Plaintiff wishes to replead against Defendants Central

Bank of India and/or Export Import Bank of India, he shall file an amended complaint

within forty-five (45) days of the entry of this Order; otherwise the dismissal ordered herein

shall be deemed to be with prejudice; and it is further

       ORDERED that the Court shall retain jurisdiction over any and all matters arising from

or related to the implementation, interpretation and enforcement of this Order.




  Dated: October 29th, 2020               BRENDAN L. SHANNON UNITED STATES BANKRUPTCY
  Wilmington, Delaware                    JUDGE
